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                                   UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF CALIFORNIA
                                         SAN JOSE DIVISION

   Google Inc.,                                     Case No. 5:17-cv-04207-EJD

                   Plaintiff,                       [PROPOSED ORDER] GRANTING
                                                       ADMINISTRATIVE MOTION TO REFLECT
                                                    CHANGE OF NAME FROM GOOGLE INC. TO
             vs.                                       GOOGLE LLC

      Equustek Solutions Inc., Clarma
   Enterprises Inc., and Robert Angus,
                   Defendants.
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        GOOD CAUSE APPEARING, IT IS HEREBY ORDERED THAT that Google Inc. shall

 now be known as Google LLC in this action, and the caption of the case shall be:
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 Google LLC,                                       Case No. 5:17-cv-04207-EJD

                  Plaintiff,

         vs.

 Equustek Solutions Inc., Clarma
    Enterprises Inc., and Robert Angus,

                  Defendants.
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                                            [PROPOSED] ORDER
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 2        IT IS SO ORDERED.
 3
           October 12
 4 Dated: ______________, 2017

 5                                 Hon. Edward J. Davila
                                   United States District Judge
 6
                                   Northern District of California
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                                    [PROPOSED] ORDER
